     Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 1 of 35



                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS
___________________________________
                                    )
DAVID DAOUD WRIGHT,                 )
                     Plaintiff,     )
                                    )          Civil Action
v.                                  )          No. 21-10137
                                    )
ANTONE MONIZ and MELVIN SPRAGUE,    )
                                    )
                     Defendants.    )
                                    )

                        MEMORANDUM AND ORDER

                            June 17, 2024

Saris, D.J.

                             INTRODUCTION

     Plaintiff David Daoud Wright was incarcerated in Plymouth

County Correctional Facility’s administrative segregation unit,

commonly called “the hole,” for thirty-two months. For most of

that time, he was a pretrial detainee facing terrorism-related

charges. Wright was confined to his solitary cell for twenty-three

hours per day, monitored via an in-cell camera, and deprived of

most human interaction. Wright alleges Defendants, Superintendent

Antone Moniz and Assistant Superintendent Melvin Sprague, imposed

these conditions to punish him based on the nature of his charges

rather than for any legitimate disciplinary or safety reason.

     Wright sues Moniz and Sprague pursuant to 28 U.S.C. § 1983

for violating his procedural and substantive due process rights

under the Fourteenth Amendment to the Constitution. Defendants


                                   1
     Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 2 of 35



move for summary judgment. As to both claims, they argue Wright

filed suit too late, failed to exhaust administrative remedies,

and cannot show they were individually responsible. As to Wright’s

substantive due process claim, Defendants contend they kept him in

administrative segregation to protect his safety and that of other

prisoners, not to punish him. As to his procedural due process

claim, Defendants assert they provided Wright legally adequate

procedural   safeguards.   Finally,     they   argue   qualified   immunity

shields them from liability. After a hearing and review of the

record, the motion for summary judgment (Dkt. 149) is DENIED as to

Wright’s timely procedural due process claims and ALLOWED as to

his substantive due process claims.

                              BACKGROUND

     Drawing all inferences in favor of Wright, the Court considers

the following facts undisputed unless otherwise noted.

I.   The Crime

     David Daoud Wright is a thirty-four-year-old man currently

incarcerated at the Federal Correctional Institution in Terre

Haute,   Indiana,   serving   a   thirty-year     sentence   after     being

convicted of terrorism-related crimes. Wright is a devout Muslim.

He is 6’7” and weighed 511 pounds when he was booked.

     As background, in May 2015, law enforcement began surveilling

Wright and his uncle, Usaamah Abdullah Rahim, regarding suspected

terrorist activity. On May 31, 2015, Rahim revealed to Wright and


                                    2
       Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 3 of 35



another person his plan to behead a woman in another state. The

morning of June 2, 2015, law enforcement intercepted a phone call

in which Rahim told Wright he no longer intended to behead the

planned victim, and instead would “go after” the “boys in blue”

that day as an act of violent jihad. Dkt. 151-4 at 9-10. Wright

instructed Rahim to destroy his electronic devices before law

enforcement could access them. Officers confronted Rahim on June 2

and, in     the   ensuing   encounter,    fatally    shot   him.       FBI   agents

arrested Wright later that day. Wright and Rahim’s case generated

significant media coverage in the weeks following Wright’s arrest.

       On June 18, 2015, Wright was indicted on charges of conspiracy

to provide material support to a designated foreign terrorist

organization in violation of 18 U.S.C. § 2339B(a)(1); conspiracy

to    obstruct    justice   in   violation   of     18   U.S.C.    §    371;    and

obstruction of justice in violation of 18 U.S.C. § 1519. The

terrorist group designated in the indictment was the Islamic State

of Iraq and the Levant (“ISIL” or “ISIS”). Later, he was indicted

on the new charge of conspiracy to commit acts of terrorism

transcending national boundaries in violation of 18 U.S.C. §§

2332b(a)(2) and (c) and another count of obstruction of justice.

II.    Placement in Solitary Confinement

       A.   Initial Assignment

       After his arrest, Wright was incarcerated at Plymouth County

Correctional Facility (“Plymouth”) in Plymouth, Massachusetts.


                                      3
       Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 4 of 35



Antone   Moniz   and   Melvin    Sprague      were     the   Superintendent      and

Assistant     Superintendent       of       Plymouth     throughout         Wright’s

confinement there.

       Wright was described on his booking documents as “[a]rmed,”

“[d]angerous,” “[v]iolent,” a “[t]errorist,” and a “[p]ossible

[t]errorist [o]rganization [m]ember” to be treated with caution.

Dkt. 151-16 at 2. Wright’s intake classification report noted that

he was a “high risk transport per [the] superintendent.” Id. at 3

(emphasis    omitted).   Based     on   Wright’s       answers    to    a   suicide

questionnaire, he was initially placed on a mental health watch

until he could be cleared by a mental health professional. Wright

was housed in a cell in a protective gown with a camera and an

officer right outside the cell. On June 4, 2015, a mental health

clinician    evaluated    Wright    and      cleared     him   for     housing    in

administrative segregation.

       Sprague assigned Wright to the administrative segregation

unit     (“AdSeg”),    also     called        “Unit     G,”    pending       formal

classification. Wright’s cell contained an inward-facing camera

that monitored him perpetually. Sprague designated Wright with

“house-alone” and “rec-alone” status, meaning Wright would live in

a single-occupancy cell and spend his recreational time alone

rather than with others. Finally, Sprague placed Wright on “one-




                                        4
        Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 5 of 35



on-one watch,” meaning a guard would sit directly outside his cell

around the clock. The one-on-one watch lasted until June 24, 2015.

      On June 10, a panel comprised of Unit G Captain John Hickey,

Assistant Deputy Superintendent (“ADS”) of Classification Derek

Webb,      and     Caseworker     Elena       Brady   conducted         an   initial

“Classification Review” and formally assigned Wright to AdSeg

rather than general population. The panel’s stated reason for doing

so was “maintain[ing] the safe, secure, and orderly running of the

facility.” Dkt. 151-32 at 2. Moniz later testified that Wright was

classified to AdSeg because of “what he did,” in other words, “his

alleged crime that he had not yet been convicted of.” Dkt. 159-3

at 200:20-23. Parties dispute whether Wright was placed in solitary

confinement to secure his and others’ safety or to punish him for

his alleged crimes.

      B.     Conditions

      Inmates in AdSeg faced greater restrictions than those in

general population. People in AdSeg were confined to their cells

for twenty-three hours per day, with one hour of recreational time

outside their cells, while those in general population had multiple

recreational periods totaling about eight hours per day. During

recreation, those in AdSeg could interact with each other only

through cell doors or, if their recreational hours lined up, on

the   recreation      yard.     There   was    no   access    to     television.   By

contrast,        inmates   in   general       population     could    socialize    in


                                          5
     Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 6 of 35



communal    recreational   spaces    and    watch   television   together.

Individuals in general population could eat and attend religious

services communally, but individuals in AdSeg ate alone in their

cells and could seek only one-on-one visits with a clergy. Those

in general population could access discovery materials related to

their legal proceedings inside their cells; those in AdSeg could

not. General population contained no camera cells. And although

general    population   included    its   own   protective   custody   unit,

inmates there enjoyed the same recreational schedule as the rest

of general population and generally lived in open dormitory-style

arrangements rather than individual cells. 1

     Wright was subject to additional restrictions beyond the

baseline in AdSeg. Wright was on one-on-one watch, albeit only for

the first few weeks of his incarceration, meaning that during that

time there was always a guard directly outside his cell. Although

Unit G contained a mix of single-bunk and double-bunk cells, and

general population ordinarily housed inmates in two-man, four-man,

or five-man cells, Wright lived in a solitary cell throughout his

confinement. Because he was on rec-alone status, Wright was never

able to interact with other individuals in Unit G face to face,


1 The First Circuit has held that conditions materially identical
to those in Plymouth’s AdSeg constituted “solitary confinement.”
See Perry v. Spencer, 94 F.4th 136, 144 (1st Cir. 2024) (en banc);
see also Davis v. Ayala, 576 U.S. 257, 286 (2015) (Kennedy, J.,
concurring) (equating “administrative segregation” and “solitary
confinement”).


                                     6
       Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 7 of 35



even during recreational time. In his camera cell, Wright was

subject to constant surveillance, including when he used the

toilet,     notwithstanding      his   religious   concerns   about   modesty.

Moreover, Wright was strip-searched every time he left his cell to

review his discovery documents or to talk to his imam. As a result,

Wright eventually stopped seeking to speak to the imam.

       Some of the restrictions placed on Wright were atypical even

for an inmate in AdSeg. The majority of those in Unit G were there

for disciplinary violations. Hickey stated that it was not “typical

to keep an inmate in a camera cell throughout their entire stay.”

Dkt.   159-1    at   63:17-20.    Likewise,   Webb   testified   it   was   not

“typical that a new inmate with no criminal history would be

assigned to one-on-one watch.” Dkt. 159-2 at 108:6-9. Plymouth

policy dictated that no one could be kept in AdSeg continuously

for over thirty days per disciplinary violation. As explained

below, Wright was held in AdSeg for a total of thirty-two months.

       C.    Classification Review

       Wright    received        periodic     reviews    of    his     initial

classification. Every week, a Classification Board that included

Hickey, a caseworker, and others reviewed the confinement of every

inmate in Unit G. These weekly meetings lasted “anywhere from 20




                                         7
     Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 8 of 35



minutes to an hour and 10” minutes for all inmates combined. Dkt.

159-7 at 47:1-12.

     The   Board     provided   Wright   a   written    notice   of    his

classification decision, referred to as a “receipt,” after his

first two months in AdSeg and again every month thereafter. Each

receipt stated Wright was in AdSeg “[f]or the safe, secure, and

orderly running of the institution,” and that he “ha[d] the right

to appeal an unfavorable classification recommendation decision

through [his] Caseworker.” See, e.g., Dkt. 151-36 at 2. From June

2015 to November 2016, he signed those receipts indicating he did

not want to appeal the classification decision. After November 1,

2016, Wright stopped signing the receipts altogether.

     The Board held a formal classification hearing, for which

Wright received notice forty-eight hours in advance, every three

months. Significantly, Plymouth’s notice forms included checkboxes

indicating when an inmate was allowed to “attend the hearing and

make a presentation verbally and/or in writing to the Board,” or

was not permitted to attend but could instead “submit a written

presentation   for   the   Board’s   consideration.”   See,   e.g.,    Dkt.

151-36 at 3. These boxes were not checked on Wright’s notices. He

was not invited to participate in his classification hearings. The

final notice Wright received, dated October 17, 2017, did not list

a hearing date.




                                     8
     Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 9 of 35



     Defendants were not on the Classification Board and did not

participate directly in reviewing Wright’s assignment to AdSeg.

However, Sprague testified that he “put [Wright] in segregation,”

that he was “one of the decision makers” responsible for Wright

being kept in AdSeg “throughout his confinement,” and that Moniz

was “another one of those decision makers.” Dkt. 159-8 at 200:4-

17. Sprague also testified it was his decision that “Wright be

kept in a camera cell throughout his confinement at PCCF.” Id. at

200:18-21.     Hickey      called     classification        reviews     “joint

decision[s]”     between   himself    and   the    other    members    of   the

Classification    Board,    “with    support     from   [his]    supervisors.”

Dkt. 164-1 at 145:16-146:2. He further stated that “[i]f the

classification    board    wanted    to   move   Mr.    Wright   to   [general]

population but . . . [Defendants] did not,” the Board would not do

so. Dkt. 159-1 at 105:21-106:4. According to Hickey, Defendants

“ha[d] more involvement regarding classification decisions” for

high-profile inmates. See id. at 132:11-20.

III. Wright’s Efforts to Leave Solitary Confinement

     In AdSeg, Wright was a “model inmate.” Dkt. 158 at 73. He

maintained mostly positive relationships with other inmates to the

extent he was able to communicate with them through vents between

cells or through cell doors. Others described Wright as “polite

and cooperative,” “friendly,” and “pleasant and respectful.” Id.




                                      9
     Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 10 of 35



Moniz called Wright “a complete gentleman.” Dkt. 159-3 at 101:2-8.

Wright was not subject to any discipline at Plymouth.

     Hickey      testified   he   and   Wright   had   “lengthy   discussions

regarding     [Wright’s]     confinement”        and   Wright     raised   the

possibility of going to general population “probably four or five

times.” Dkt. 159-1 at 99:17-101:3. Wright also communicated with

Moniz and other Plymouth officials regarding his conditions of

confinement. These interactions are summarized below.

     A.     August 2015 to November 2016

            1.     Conversations with Hickey and Moniz

     Wright spoke to Hickey in August 2015 regarding his placement

in solitary confinement and his access to religious services. On

October 21, 2015, Hickey emailed Defendants stating that Wright

was “approaching five months in Unit G,” had shown “no issue[s] at

any point during his stay,” did “not present with any mental health

issues,” and was “no longer in the news.” Dkt. 151-39 at 2. Hickey

asked whether “we” -- referring to himself and Defendants -- were

“going to consider [general] population at any point.” Id. Moniz

responded that he could “not support putting an alleged terrorist

in general population” because of “concern[s] for his safety.” Id.

Hickey forwarded Moniz’s response to Lieutenant Robert Kuzia, Jr.

and Brady, who were on the Classification Board at the time, so

they could “see the response from the superintendent” as “[p]art

of the classification discussion.” Dkt. 159-1 at 143:1-12. After


                                        10
     Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 11 of 35



that, “it was decided that Mr. Wright would remain in AdSeg.”

Dkt. 164-1   at    144:14-17.     In    another    conversation,   Moniz   told

Hickey he opposed placing Wright in general population out of

concern that “a cowboy or a Marine or a former police officer”

might harm him. Dkt. 159-1 at 157:11-15.

     Wright recalls speaking to Moniz during an administrative

walkthrough in January 2016. Wright asked if he could move into

general population or, at the very least, into a non-camera cell.

Moniz refused his requests. And on April 14, 2016, Hickey emailed

Defendants stating Wright had “request[ed] to live in a two man

cell.” Dkt. 151-40 at 2. Moniz responded that he would oppose

Wright having a cell mate “[f]or the same reason that he [wa]s in

segregation.” Id.

           2.      Letters to Moniz About the Unit Worker

     From January to October 2016, Wright wrote four letters to

Moniz complaining about a “unit worker,” a fellow inmate with

additional duties within the subunit. See Dkt. 151-42. Wright

alleged   the     unit   worker   had    been     antagonizing   and   sexually

harassing Wright and others in his cell block. Wright alleged the

unit worker had sexually harassed him by telling him, among other

things, to “suck his dick.” Dkt. 151-43 at 3. Wright also revealed

the unit worker and a former inmate had been “run[ning] their

mouths” about his case, saying things like “F you, ISIS” and “Go

to hell, ISIS,” but that he had otherwise “not had any problems or


                                        11
       Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 12 of 35



issues with either staff or inmates.” Id.; Dkt. 151-2 at 295:3-11.

The letters did not request review of Wright’s classification.

       ADS   Michael     Duggan,       an    officer     responsible     for    prisoner

complaints in AdSeg, published a report on August 16, 2016, finding

Wright’s     allegations       of   sexual         harassment    were   substantiated.

Wright    also     filed      grievances         in   September   and    October     2016

regarding       the   unit    worker’s       alleged     misconduct,      but    neither

grievance       asked   for    review       of     Wright’s    classification.       Other

inmates occasionally called Wright a “terrorist,” but he never

reported facing any specific threats to his safety.

             3.       Request for Protective Custody

       Because     of   Wright’s       continuing        concerns   about      the   unit

worker, Hickey, Duggan, and others determined that “Wright and

[the     unit     worker]      would        benefit     from    being    in     separate

sub[-]units.” Dkt. 159-13 at 2. On November 1, 2016, Hickey told

Wright that he would be moving to another cell that was also a

camera cell but was not as large as Wright’s current one. According

to Hickey’s report, “[i]t was apparent” that Wright did not want

to move to that cell. Id. After Hickey delivered the news, Wright

requested protective custody, which he understood would allow him

to stay in his current cell. Hickey informed Moniz of Wright’s

request, Webb reviewed and approved it, and Wright ultimately did

not move cells. Wright’s stated reason for requesting protective

custody was his “[h]igh profile case.” Dkt. 151-44 at 2.


                                              12
        Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 13 of 35



     B.      November 2016 to April 2017

             1.     Continuing Issues With Unit Worker

     Wright wrote a final letter to Hickey on April 14, 2017,

regarding the unit worker. In response, investigators met with

Wright for an hour on April 18 to discuss his complaints. During

this interview, one investigator asked Wright “if he would consider

being transferred to another facility where he might be able to

live in [general] population.” Dkt. 151-30 at 7. Wright responded

that he was “good right where [he was] at,” and that the unit

worker should have to move, not Wright. Id. On April 21, Wright

wrote a letter to the Department of Correction reiterating the

same complaints about the unit worker, but not raising any concerns

with his classification. See Dkt. 151-45. At some point, he also

wrote to a Department of Justice official voicing the same issues.

             2.     Challenging Placement in Solitary and Camera Cell

     On April 21, 2017, Wright filed his first (and only) grievance

regarding his classification and conditions of confinement. In his

grievance form, he requested “immediate reclassification out of

AdSeg    [any/all    unwarranted     camera   cells].”   Dkt.   151-51     at    2

(emphasis      omitted).    Hickey    forwarded   Wright’s      grievance       to

Defendants and asked them for their “thoughts on this matter.”

Dkt. 151-52 at 4-5. Moniz told another officer to “cut and paste

something for [Hickey] out of [the] policy” and noted that if

Wright appealed, Moniz would “be looking at this as well.” Id.


                                       13
     Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 14 of 35



Hickey then responded to the grievance by suggesting that Wright

should “write a formal request” if he “wish[ed] to have the

Protective Custody designation removed and the committee [to]

examine [his] request.” Dkt. 151-51 at 2-3. Captain Mark Holmes

approved Hickey’s response, stating that Wright could “write a

formal    request   to   have   the    protective   custody   designation

removed.” Id. at 3. Wright neither appealed the denial of his

grievance nor formally asked to remove his protective custody

designation.

     C.    April 2017 to January 2018

     On October 18, 2017, after a multi-week trial, a jury found

Wright guilty of all five counts in the superseding indictment. He

was sentenced on December 19, 2017, to twenty-eight years in

prison, and remained at Plymouth awaiting transfer to a federal

prison. Authorities moved Wright out of Plymouth and into a federal

facility the morning of January 26, 2018. Wright’s conviction for

conspiracy to provide material support to ISIS was later vacated,

but he was re-sentenced to thirty years in prison and a lifetime

of supervised release. The First Circuit affirmed his thirty-year

sentence. United States v. Wright, 101 F.4th 109 (1st Cir. 2024).

     Ultimately, Wright was incarcerated at Plymouth from June 3,

2015, until January 26, 2018, for a total of thirty-two months. He

spent the entire time in solitary confinement in Unit G. For the

first twenty-nine months -- from his initial detention until his


                                      14
     Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 15 of 35



criminal conviction on October 18, 2017 -- he was a pretrial

detainee.     Wright   spent    all   thirty-two     months     under   camera

surveillance and on house-alone, rec-alone status.

                               LEGAL STANDARD

     Summary judgment is appropriate when there is “no genuine

dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). A genuine

dispute exists where the evidence “is such that a reasonable jury

could resolve the point in the favor of the non-moving party.”

Rivera-Rivera v. Medina & Medina, Inc., 898 F.3d 77, 87 (1st Cir.

2018) (quoting Cherkaoui v. City of Quincy, 877 F.3d 14, 23-24

(1st Cir. 2017)). A material fact is one with the “potential of

changing a case’s outcome.” Doe v. Trs. of Bos. Coll., 892 F.3d

67, 79 (1st Cir. 2018).

     In general, “a party seeking summary judgment always bears

the initial responsibility of informing the district court of the

basis for its motion.” Celotex Corp. v. Catrett, 477 U.S. 317, 323

(1986). “To succeed, the moving party must show that there is an

absence of evidence to support the nonmoving party’s position.”

Rogers v. Fair, 902 F.2d 140, 143 (1st Cir. 1990). Once it has

made the requisite showing, the burden shifts to the nonmovant to

“present definite, competent evidence to rebut the motion” and

demonstrate    that    a   “trialworthy    issue   persists.”    Vineberg   v.

Bissonnette, 548 F.3d 50, 56 (1st Cir. 2008) (internal citations


                                      15
        Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 16 of 35



and quotations omitted). “The court must view the facts in the

light     most   favorable   to   the   non-moving   party   and   draw    all

reasonable inferences in [his] favor.” Carlson v. Univ. of New

Eng., 899 F.3d 36, 43 (1st Cir. 2018).

                                  DISCUSSION

I.   Statute of Limitations

     Defendants assert that Wright’s due process claims are barred

by the statute of limitations. The relevant statute of limitations

is three years. See Nieves v. McSweeney, 241 F.3d 46, 51 (1st Cir.

2001) (citing Mass. Gen. Laws ch. 260, § 2A). Wright filed his

complaint on January 26, 2021, so Defendants contend he may only

recover for constitutional violations on or after January 26, 2018,

the day he was transferred out of Plymouth. However, Wright argues

that the Massachusetts Supreme Judicial Court tolled the statute

of limitations for a period during the COVID-19 pandemic, and also

that the “continuing violation doctrine” allows him to recover for

conduct outside the limitations period.

     State law generally governs tolling in § 1983 cases. See

Benitez-Pons v. Commonwealth of P.R., 136 F.3d 54, 59 (1st Cir.

1998). Starting in March 2020, the Massachusetts Supreme Judicial

Court issued a series of orders tolling “[a]ll civil statutes of

limitations . . . from March 17, 2020, through June 30, 2020”

because of the exigent circumstances created by the COVID-19

pandemic. See Shaw’s Supermarkets, Inc. v. Melendez, 173 N.E.3d


                                        16
     Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 17 of 35



356, 359 (Mass. 2021). These “tolling orders apply to section 1983

actions.” Silva v. City of New Bedford, 602 F. Supp. 3d 186, 198

(D. Mass. 2022) (collecting cases). Accordingly, Wright’s claims

were tolled from March 17, 2020, until June 30, 2020, so he may

recover   for   constitutional      violations   occurring     on    or   after

October 12, 2017.

     Wright also argues the “continuing violation doctrine” allows

him to recover for constitutional violations during his entire

term in solitary confinement, not only the portion within the

limitations period. The continuing violation doctrine permits a

plaintiff to recover for “acts that otherwise would be time-barred

so long as a related act fell within the limitations period.”

Torres-Estrada v. Cases, 88 F.4th 14, 24 (1st Cir. 2023) (quoting

Tobin v. Liberty Mut. Ins. Co., 553 F.3d 121, 130 (1st Cir. 2009)).

However, the doctrine covers only causes of action that “by their

very nature require repeated conduct to establish an actionable

claim, such as hostile work environment claims.” Ayala v. Shinseki,

780 F.3d 52, 57 (1st Cir. 2015) (citing Tobin, 553 F.3d at 130)).

It does not apply to “discrete acts” -- even repeated ones -- that

occurred on specific dates. Thornton v. United Parcel Serv., Inc.,

587 F.3d 27, 33-34 (1st Cir. 2009).

     Wright     argues   he   has   produced   evidence   of   a    continuing

violation of his procedural due process rights. A discrete due

process claim accrues “each time that a defendant fails to provide


                                      17
      Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 18 of 35



an inmate with the notice, hearing, or evaluation to which he is

entitled after a liberty interest attaches.” Gonzalez v. Hasty,

802 F.3d 212, 223 (2d Cir. 2015). Thus, even if each review (or

lack thereof) violated Wright’s rights, collectively, they did not

amount   to   a   “continuing   violation.”      Id.    (citing      Nat’l   R.R.

Passenger Corp. v. Morgan, 536 U.S. 101, 114-15 (2002)). Wright

cannot recover for untimely procedural due process violations.

      However,    the   continuing   violation     doctrine    may     apply   to

Wright’s substantive due process claim. Wright was confined in

AdSeg continuously for over twenty-nine months as a pretrial

detainee, including for at least six days -- from October 12, 2017,

to his conviction on October 18, 2017 -- into the statutory period.

Substantive due process claims challenging pretrial conditions “by

their nature accrue only after the plaintiff has been subjected to

some threshold amount of mistreatment,” cf. Gonzalez, 802 F.3d at

220, that is, when restrictions become “disproportionate to, or

not reasonably related to, a legitimate, non-punitive goal,” see

Ford v. Bender, 768 F.3d 15, 24 (1st Cir. 2014); cf. Reaves v.

Dep’t of Corr., 333 F. Supp. 3d 18, 22 n.3 (D. Mass. 2018) (applying

the   continuing    violation    doctrine     to       an   Eighth    Amendment

conditions-of-confinement claim). 2


2 Wright alleges Defendants violated his substantive due process
right not to be punished during pretrial detention. His pretrial
detention ended on October 18, 2017, when he was convicted. Both



                                     18
        Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 19 of 35



      Wright does not challenge his initial placement. Rather, he

argues the conditions and duration of his continued pretrial

detention in solitary confinement were disproportionate to any

legitimate justification. Accordingly, if Wright can prove his

solitary confinement violated his substantive due process rights,

and that violation continued past October 12, 2017, he can recover

for time Defendants kept him in solitary confinement without a

legitimate justification prior to his conviction on October 18,

2017.

II.   Exhaustion

      Defendants       assert    they   are       entitled     to   summary    judgment

because       Wright    “did    not     fully          and   properly   exhaust      his

administrative remedies.” Dkt. 150 at 10. The Prison Litigation

Reform Act (“PLRA”) requires incarcerated people to exhaust all

“available” prison administrative procedures before filing suit.

Jones    v.    Bock,   549     U.S.   199,       204    (2007)   (citing      42   U.S.C.

§ 1997e(a)).      However,      if    “an    administrative         remedy,    although

officially on the books, is not capable of use to obtain relief,”




parties refer to thirty-two months of confinement rather than
twenty-nine, but neither has articulated what constitutional
standard should apply to Wright’s continued confinement in AdSeg
between conviction and sentencing. The Court need not address the
proper standard because it was not briefed.


                                            19
       Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 20 of 35



it is not “available,” and the exhaustion requirement does not

apply. Ross v. Blake, 578 U.S. 632, 643 (2016).

       “[F]ailure to exhaust is an affirmative defense” for which

defendants bear the initial burden of proof. Jones, 549 U.S. at

216.    Parties    agree     Wright     did       not    attempt     to     exhaust        the

administrative procedures at Plymouth, so Defendants have met

their burden. The burden shifts to Wright to present facts showing

administrative remedies were unavailable to him. See Hubbs v.

Suffolk Cnty. Sheriff’s Dep’t, 788 F.3d 54, 59 (2d Cir. 2015); see

also    Asociación      de      Suscripción          Conjunta       del         Seguro      de

Responsabilidad Obligatorio v. Juarbe-Jiménez, 659 F.3d 42, 50

n.10 (1st Cir. 2011) (applying a burden-shifting framework to an

affirmative defense on summary judgment).

       Courts treat an administrative remedy as unavailable if it

“operates    as    a   simple    dead    end,”          with    “officers        unable     or

consistently      unwilling      to    provide          any    relief      to        aggrieved

inmates.”     Ross,    578    U.S.     at        643-44.       According        to     Wright,

Defendants’ own statements show that grievances and administrative

appeals would have led to a “dead end.” Sprague testified he

initially placed Wright in a solitary camera cell solely because

of   Wright’s     charges.    See     Dkt.       159-8    at    147:3-18,        198:21-24.

Likewise, Moniz testified Wright was kept under those conditions

for his entire stay because of the “nature of his charges.” See

Dkt. 159-3 at 155:2-5; see also id. at 201:11-15 (“Q: Nothing else


                                            20
        Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 21 of 35



could get him moved out of AdSeg? A: His charges kept him in AdSeg,

his charges and his plan that was exposed in the media as well as

press    releases.”).    Moreover,      when   Hickey    asked      Defendants    in

October 2015 if they would support placing Wright in general

population     because   he   had    behaved   well     and   his    case’s    media

coverage had subsided, Moniz replied that he could “not support

putting an alleged terrorist in general population” because of

safety concerns. Dkt. 151-39 at 2. A jury presented with this

evidence could reasonably infer that even if Wright had fully

grieved and appealed the conditions of his confinement, Defendants

would not have provided him relief.

       Defendants counter that “there is no ‘futility exception’ to

the PLRA exhaustion requirement.” See Dkt. 150 at 8 (quoting

Medina-Claudio v. Rodríguez-Mateo, 292 F.3d 31, 35 (1st Cir.

2002)). Their reliance on Medina-Claudio is misplaced. There, the

plaintiff      claimed    that      administrative      procedures      were     not

“available” because they “could not afford him the relief he

[sought] in federal court.” Id.; see also Booth v. Churner, 532

U.S.    731,   739   (2001)   (confirming      “Congress      meant   to   require

procedural exhaustion regardless of the fit between a prisoner’s

prayer for relief and the administrative remedies possible”).

Here, Wright argues not that administrative procedures at Plymouth

would have provided the wrong type of relief, but that they would

have provided no relief at all. See Ross, 578 U.S. at 643 (“The


                                        21
     Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 22 of 35



modifier ‘available’ requires the possibility of some relief.”

(cleaned up)). Defendants are not entitled to summary judgment

based on Wright’s failure to exhaust administrative remedies.

III. Defendants’ Individual Responsibility

     Defendants argue they cannot be held liable for Wright’s

conditions of confinement because the Classification Board, on

which neither of them sat, made all classification decisions. To

sue under § 1983, a plaintiff must show that his injury resulted

either   “from   the   direct   acts    or   omissions”       of   the   defendant

officials, “or from indirect conduct that amounts to condonation

or tacit authorization.” See Grajales v. P.R. Ports Auth., 682

F.3d 40, 47 (1st Cir. 2012). A plaintiff can meet that standard by

showing the defendants “set[] in motion a series of acts by others”

which the defendants knew or reasonably should have known “would

cause others to inflict the constitutional injury.” See Ocasio-

Hernández   v.   Fortuño-Burset,       640   F.3d   1,   16    (1st   Cir.   2011)

(quoting Sanchez v. Pereira-Castillo, 590 F.3d 31, 50 (1st Cir.

2009)). Wright argues that although Defendants did not sit on the

Classification Board, they are responsible for placing him in

AdSeg, imposing additional restrictions (i.e., camera cell, house-

alone, and rec-alone statuses), and subsequently intervening in




                                       22
        Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 23 of 35



the     Board’s   process     to   prevent       meaningful      review    of   his

classification. Dkt. 157 at 19-20.

      There is evidence both Defendants were aware of, and approved,

Wright’s classification and conditions of confinement. Parties do

not dispute that Sprague initially confined Wright to a solitary

camera cell with one-on-one-watch status. Sprague said both he and

Moniz were “decision makers” responsible for Wright being kept in

AdSeg in a camera cell “throughout his confinement” Dkt. 159-8 at

200:10-14, 200:18-21. Similarly, Sprague stated he was responsible

for keeping Wright in a camera cell “throughout his confinement.”

See id. at 200:18-21.

      The    record    also   supports       a     reasonable    inference      that

Defendants     influenced     Wright’s   classification         reviews.     Hickey

stated that although Defendants were not formally “responsible for

classification decisions,” reviews were “joint decision[s]” made

by the Board “with support from [his] superiors,” particularly for

high-profile inmates like Wright. Dkt. 164-1 at 131:5-20, 145:16-

146:2. And after Moniz told Hickey he would “not support putting

an alleged terrorist in general population,” Hickey forwarded

Moniz’s message to other members of the Board because he wanted

them to know Moniz’s stance “as part of the . . . classification

board     reviews.”   Dkt.    151-39    at    2;    Dkt.   159-1   at     143:6-16.

Subsequently, “it was decided that Mr. Wright would remain in

AdSeg,”     despite   other   members    of      the   Board    wanting    to   give


                                        23
        Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 24 of 35



“consideration” to the idea of moving Wright to general population.

Dkt. 164-1 at 144:14-15:2. A reasonable jury could find on these

facts     that   Defendants     influenced     the   Classification     Board’s

decisions knowing that doing so would cause Wright’s continued

solitary confinement.

IV.   Procedural Due Process

      Wright argues Defendants stymied meaningful review of his

classification in violation of his procedural due process rights.

To state a Fourteenth Amendment procedural due process claim, a

plaintiff must “identify a protected liberty or property interest”

and show the defendants deprived him of that interest “without

constitutionally      adequate     process.”   Aponte-Torres    v.     Univ.   of

P.R., 445 F.3d 50, 56 (1st Cir. 2006). There is no dispute that

Wright’s     solitary    confinement    implicated     a   protected    liberty

interest. See Wilkinson v. Austin, 545 U.S. 209, 214, 224 (2005)

(recognizing      a   liberty   interest     where   inmates   were    held    in

individual cells for twenty-three hours per day, provided limited

recreational opportunities, required to eat alone inside their

cells,     and   afforded   only    “rare”   noncontact    visits).     Rather,

Defendants argue Wright received weekly reviews, monthly notices,

and trimonthly hearings as required by law. Wright counters that

he did not receive adequate notice or opportunity to participate

in his hearings, and that periodic reviews of his classification




                                       24
      Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 25 of 35



were not sufficiently “meaningful” to pass constitutional muster.

Dkt. 157 at 14-15.

      The Supreme Court has held that people placed in solitary

confinement “in a manner that implicates a liberty interest must

be   afforded”    at   least   “notice        of   the    factual    basis      for   the

confinement and an opportunity to present the inmate’s views to

the official charged with the decision to confine the inmate.”

Perry v. Spencer, 94 F.4th 136, 160-61 (1st Cir. 2024) (en banc)

(cleaned up) (first quoting Wilkinson, 545 U.S. at 229; and then

quoting Hewitt v. Helms, 459 U.S. 460, 476 (1983)). Wright’s

hearing notices indicated he could neither “attend the hearing and

make a presentation verbally and/or in writing to the Board,” nor

“submit a written presentation for the Board’s consideration.”

See, e.g., Dkt. 151-36 at 3. A reasonable jury could conclude that

Wright   had     no    opportunity      to     advocate     for     himself       during

classification proceedings.

      Defendants       argue   Wright        had    a     right     to       appeal   his

classification, which he chose not to exercise. But the record

demonstrates classification appeals were never successful. See

Dkt. 159-2 at 68:6-13 (Webb testifying that he never “reconsidered

and changed” an inmate’s classification level); Dkt. 159-6 at

111:14-15   (Brady      stating   she    could      not    “recall       a    successful

appeal”). Thus, a jury could conclude that classification appeals




                                         25
     Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 26 of 35



did not constitute sufficient opportunities to be heard. See Perry,

94 F.4th at 161-62.

     Finally, Defendants argue they are entitled to qualified

immunity on the procedural due process claim. Qualified immunity

shields government officials from suit for damages unless “(1)

they violated a federal statutory or constitutional right, and (2)

the unlawfulness of their conduct was ‘clearly established at the

time.’” Irish v. Fowler, 979 F.3d 65, 76 (1st Cir. 2020) (quoting

Dist. of Columbia v. Wesby, 583 U.S. 48, 62-63 (2018)). Whether a

right is clearly established “encompasses two questions: whether

the contours of the right, in general, were sufficiently clear,

and whether, under the specific facts of the case, a reasonable

defendant would have understood that he was violating the right.”

See Ford, 768 F.3d at 23 (citing Maldonado v. Fontanes, 568 F.3d

263, 269 (1st Cir. 2009)).

     As noted above, a jury could reasonably find that Defendants

violated Wright’s procedural due process rights by failing to

provide him with an adequate opportunity to be heard regarding his

classification. So, the critical question is whether Wright’s

procedural rights were “clearly established” as of October 12,

2017, the starting point of the limitations period.

     Defendants argue they “reasonably could have believed that

the process [Wright] received protected his procedural due process

rights.” Dkt. 150 at 20. In support, Defendants contend Moniz


                                   26
     Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 27 of 35



implemented Plymouth’s policy (PCCF 421) governing periodic review

for those in AdSeg and complied with the Massachusetts Supreme

Judicial Court’s decision in LaChance v. Comm’r of Corr., 978

N.E.2d 1199, 1201 (Mass. 2012) (holding that the inmate’s ten-

month administrative segregation in the special management unit on

awaiting action status, “during which he had the benefit of only

informal status reviews,” was unlawful). But PCCF 421 allows for

an inmate to “offer a verbal or written statement” at his hearing

“and/or submit documentation to contest the rationale for his

placement in administrative segregation.” See Dkt. 151-33 at 13

(detailing hearing requirements when confinement continues for

ninety days or more). Likewise, in LaChance, the Supreme Judicial

Court held that the federal and state Due Process Clauses require

prison officials to provide an inmate confined to administrative

segregation, among other things, a “hearing at which he may contest

the asserted rationale for his confinement.” LaChance, 978 N.E.2d

at 1206-07. PCCF 421 and LaChance unambiguously require that an

inmate in solitary confinement have an opportunity to be heard.

     Most importantly, the Supreme Court has long held that the

Due Process Clause requires a person placed in solitary confinement

to receive at least notice and an “opportunity to present his views

to the prison official charged with deciding whether to transfer

him” there. Hewitt, 459 U.S. at 476, overruled on other grounds,

Sandin v. Conner, 515 U.S. 472, 483 (1995). The touchstone of this


                                   27
        Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 28 of 35



right    is   the    “fair     opportunity       for   rebuttal”     of   the   prison

decisionmaker’s rationale. See Wilkinson, 545 U.S. at 226. A

reasonable jury could find that Wright’s right to receive a “fair

opportunity      for    rebuttal”    was        clearly   established,     and   that

Defendants violated that right by never allowing him to participate

in his hearings. Id. Accordingly, Defendants are not entitled to

summary judgment on qualified immunity on the procedural due

process     claim.     Their   motion   is      denied    as   to   Wright’s    timely

procedural due process claims but is allowed as to those arising

prior to October 12, 2017, which are barred by the statute of

limitations.

V.   Substantive Due Process

     Wright alleges Defendants subjected him to severe conditions

in pretrial detention to punish him for his charges, in violation

of his substantive due process rights. “[A] pretrial detainee has

a substantive due process right to be free from punishment.” See

Ford, 768 F.3d at 24-25 (citing Bell v. Wolfish, 441 U.S. 520, 535

(1979)). The Supreme Court has long recognized “a distinction

between punitive measures that may not constitutionally be imposed

prior to a determination of guilt and regulatory restraints that

may.” Bell, 441 U.S. at 537. Whether conditions of confinement

constitute “punishment” hinges on whether officials imposed them

“for the purpose of punishment.” Id. at 538 (emphasis added).

“Absent a showing of an expressed intent to punish,” id., courts


                                           28
        Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 29 of 35



infer punitive intent where restrictions placed on a pretrial

detainee are “disproportionate to, or not reasonably related to,

a legitimate, non-punitive goal,” Ford, 768 F.3d at 24 (citing

Bell, 441 U.S. at 538-39). “Bell’s analysis broadly encompasses

the circumstances of all restraints placed on a pretrial detainee,”

including the “duration of the punitive conditions. . . . not

merely the decision to impose them.” Williamson v. Stirling, 912

F.3d 154, 180 (4th Cir. 2018) (citing Bell, 441 U.S. at 536-38,

543).

     Courts must be mindful that “[e]nsuring security and order at

[an] institution is a permissible nonpunitive objective, whether

the facility houses pretrial detainees, convicted inmates, or

both.” Bell, 441 U.S. at 561 (citation omitted). Thus, “in the

absence of substantial evidence in the record to indicate that the

officials have exaggerated their response” to the administrative

considerations, courts “ordinarily defer to their expert judgment”

regarding policies they deem necessary “to preserve internal order

and discipline and to maintain institutional security.” See id. at

540 n.23 (quoting Pell v. Procunier, 417 U.S. 817, 826 (1974));

id. at 547.

     Defendants argue they kept Wright in a camera cell in solitary

confinement with no television and minimal recreation for his

safety and the safety of officers and other inmates. They claim

that because of the “the extensive media coverage” regarding


                                      29
       Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 30 of 35



Wright’s “terrorism offenses,” which included a plot to “go after”

the “boys in blue,” they feared that other inmates might attack

Wright and that Wright might attack guards. Dkt. 150 at 13-15.

They     point   to   Wright’s   request      for   protective   custody   on

November 1, 2016, after his harassment by the unit worker. They

also note that Wright had the same access to visits as general

population inmates.

       Wright’s conditions of confinement and the safety concerns

that supposedly justified them must be analyzed over the long

course of his incarceration, during which officials gained more

information about him. Given the deference accorded to prison

officials to protect the institution’s security, no reasonable

jury could find that Defendants’ initial decision to place Wright

in solitary confinement with a camera cell and on one-on-one watch

showed punitive intent. When Wright first arrived at Plymouth, his

booking documents described him as a violent, dangerous, and high-

risk terror suspect. Defendants’ choice to sequester Wright from

other inmates and monitor him to ensure he did not harm himself or

others    was    reasonably   related    to   legitimate   safety   concerns.

Moreover, beginning with his initial confinement until November 1,

2016, Wright consistently signed his monthly notices indicating




                                        30
      Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 31 of 35



that he did not want to appeal his classification. And Wright

himself asked for protective custody on November 1, 2016.

      But a reasonable jury could find that after Wright filed a

grievance on April 21, 2017, his continued placement in a solitary

camera   cell    became   excessive.       Defendants   had   developed   an

understanding over time that Wright was neither dangerous nor at

specific risk of danger. By all accounts, he was a “model inmate”

and maintained mostly positive relationships with other inmates.

Wright never posed a threat to Plymouth staff, who described him

as   “polite    and   cooperative,”    “friendly,”      and   “pleasant   and

respectful.” Dkt. 158 at 21. Even Moniz called Wright “a complete

gentleman.” Dkt. 159-3 at 101:2-8. There was no evidence Wright

was experiencing any ongoing threats by other inmates, and Wright’s

request to leave AdSeg and his camera cell indicated he no longer

believed he needed protective custody. Defendants’ argument that

restricting Wright’s access to television reduced the risk of other

inmates housed near him learning about his case strains credulity

since the publicity surrounding his case had subsided. A reasonable

jury could find that between April 21, 2017, when Wright asked to

be removed from AdSeg and placed in a non-camera cell, and October

18, 2017, when he was convicted, Wright’s continued solitary




                                      31
     Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 32 of 35



confinement    exceeded    any   real        security   risk   and   constituted

punishment in the constitutional sense.

     However, Defendants argue qualified immunity protects them

from liability. To overcome qualified immunity, Wright must show

“(1) [Defendants] violated a federal statutory or constitutional

right, and (2) the unlawfulness of their conduct was ‘clearly

established at the time.’” Irish, 979 F.3d at 76 (quoting Wesby,

583 U.S. at 62-63). Having found that a reasonable jury could

conclude   Defendants     violated   Wright’s       substantive      due   process

right, the Court asks if that right was “clearly established” as

of April 21, 2017.

     For a right to be clearly established, the law must make “the

contours of the right” clear enough that “under the specific facts

of the case, a reasonable defendant would have understood that he

was violating the right.” Ford, 768 F.3d at 23. A plaintiff can

show a right was established “when it is dictated by controlling

authority or a robust consensus of cases of persuasive authority,”

which “does not require the express agreement of every circuit and

can be established by sister circuit law.” Perry, 94 F.4th at 164

(cleaned up). Defendants argue they cannot be held liable for

“advanc[ing]    legitimate       government       interests     without      clear

guidance” from the courts. See Dkt. 150 at 19.

     The Supreme Court has held since 1979 -- and the First Circuit

has affirmed repeatedly -- that prison officials cannot impose a


                                        32
        Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 33 of 35



condition of confinement on a pretrial detainee with the intent to

punish him, no matter how serious the alleged crimes. See Bell,

441 U.S. at 535; Ford, 768 F.3d at 24; Surprenant v. Rivas, 424

F.3d 5, 13 (1st Cir. 2005). Moreover, the First Circuit and other

circuits      have     held     that   keeping       a    pretrial    detainee   in

administrative segregation for comparable or even smaller amounts

of time amounted to punishment. See, e.g., Surprenant, 424 F.3d at

13-14     (accepting     that    arbitrary     placement       in    administrative

segregation for thirty days could constitute punishment); Covino

v. Vt. Dep’t of Corrs., 933 F.2d 128, 130 (2d Cir. 1991) (per

curiam) (holding that although confining the plaintiff to an

isolation      block    initially      may    have       “violated   no   protected

constitutional right,” at “some point, however, the administrative

necessity for involuntary lock-up beg[an] to pale” and “after nine

months, it smack[ed] of punishment”); Dilworth v. Adams, 841 F.3d

246, 253 (4th Cir. 2016) (finding “85 days . . . in disciplinary

segregation . . . confined to [a] cell for 23 hours each day and

denied all personal contact except with attorneys or clergy” could

constitute punishment); cf. Lock v. Jenkins, 641 F.2d 488, 491-92

(7th Cir. 1981) (“This court finds it appropriate to consider

together all the conditions of confinement in order to determine

whether they meet the [Bell] test of amounting to punishment.”).

In Williamson v. Stirling, a case similar to this one, the Fourth

Circuit held that “a reasonable factfinder could conclude” the


                                         33
     Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 34 of 35



plaintiff’s “three-and-a-half years of solitary confinement” as a

pretrial detainee “were so excessive relative to his infractions"

-- “a single incident of unrealized and unrepeated threats” --

that he “suffered unconstitutional punishment in violation of his

substantive due process rights.” See 912 F.3d at 179, 181.

     But neither the Supreme Court nor the First Circuit has

squarely held that assigning a high-profile terrorism suspect to

solitary    confinement    in    order     to   protect    him    violates     his

substantive due process rights. After all, even a model inmate can

be attacked while awaiting trial where knowledge of the terrorism

charges is widespread in the prison. Absent a showing of expressly

punitive intent, other circuits have “upheld the placement of

pretrial    detainees     in    Administrative        Segregation      . . .   for

purposes   of   the   detainees’     protection.”       See,     e.g.,   Almighty

Supreme Born Allah v. Milling, 876 F.3d 48, 58 (2d Cir. 2017)

(first citing Cabral v. Strada, 513 F. App’x 99, 103 (2d Cir. 2013)

(unpublished decision); then citing Taylor v. Comm’r of N.Y.C.

Dep’t of Corrs., 317 F. App’x 80, 82 (2d Cir. 2009)). Wright can

point to no Supreme Court or First Circuit caselaw indicating that

as of 2017, a reasonable prison official would know that keeping

him in prolonged solitary confinement in a camera cell for his

protection was so excessive as to violate his substantive due

process    rights.    Thus,     Defendants      are   entitled    to     qualified




                                      34
      Case 1:21-cv-10137-PBS Document 173 Filed 06/17/24 Page 35 of 35



immunity and their motion for summary judgment is allowed as to

Wright’s substantive due process claims.

                                   ORDER

      Defendants’ Motion for Summary Judgment (Dkt. 149) is DENIED

as   to   Wright’s   procedural   due    process   claims   arising      after

October 12, 2017. The Motion is ALLOWED as to his substantive due

process claims under the doctrine of qualified immunity.



SO ORDERED.

                                   /s/ PATTI B. SARIS
                                   Hon. Patti B. Saris
                                   United States District Judge




                                    35
